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                   UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF PENNSYLVANIA

Michael Patrick Creedon,                     Case No. 23-12202-PMM
Regina Anne Creedon,                         Chapter 13
                                  Debtors.

   Motion to Expedite Consideration of Motion for Stay Pending Appeal

      Appellant Michael I. Assad moves this Court as follows:

      1. On June 16, 2024, the Appellant filed a Motion for Stay Pending Appeal

(the “Substantive Motion”).

      2. The Substantive Motion explains the irreparable harm to the Appellant

that will occur if it is not granted immediately.

      3. Because time is of the essence, the Court must either:

          a. Enter the order attached to the Substantive Motion ex parte.

          b. Enter a bridge order until the Substantive Motion can be heard.

          c. Conduct a hearing on the Substantive Motion within twenty-four hours.

      4. Given the circumstances and the immediate relief required to prevent

irreparable harm, it is not practical for the Appellant to consult with other interested

parties to reach an agreement about appropriate times and dates for a hearing.


Date: June 16, 2024                     CIBIK LAW, P.C.
                                        Attorney for Appellant

                                        By:
                                           Mike Assad (#330937)
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                               Certificate of Service

       I certify that on this date, I did cause a copy of this document and all
attachments to be electronically served on all parties on the Clerk’s service list that
are registered to receive notices through the CM/ECF system. I did not serve anyone
by mail.

Date: June 16, 2024
                                        Mike Assad




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